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 8                        UNITED STATES DISTRICT COURT
 9                     SOUTHERN DISTRICT OF CALIFORNIA
10                          (HON. JANIS L. SAMMARTINO)
11
     UNITED STATES OF AMERICA,                    CASE NO.: 21-cr-1590-JLS
12
                        Plaintiff,                Date: November 1, 2022
13                                                Time: 9:00
           v.
14                                                STATEMENT OF FACTS AND
     JOSE SERRAN0,                                MEMORANDUM OF POINTS AND
15                                                AUTHORITIES IN SUPPORT OF
                        Defendant.                MOTION TO DISMISS FIREARM
16                                                CHARGES
17

18 INTRODUCTION
19
           Jose Serrano moves this Court to dismiss the indictment’s §§ 922(g)(1)
20
     and 924(c)(1)(A) charges. These charges allege that Mr. Serrano possessed a
21
     firearms in his home, which is conduct covered by the plain text of the Second
22
     Amendment’s plain text. Under the Supreme Court’s recent decision New York
23
     State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022), the burden
24
     shifts to the government to show an historical tradition regulating Mr. Serrano’s
25
     possession of a firearm, as a felon (counts one through four in violation of 18
26
     U.S.C. § 922(g)(1)); in furtherance of a drug trafficking crime (counts seven
27
     through ten, in violation of 18 U.S.C. § 294(c)); possession of a firearm with a
28

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 1 obliterated serial number (count eleven, in violation of 18 U.S.C. § 922(k)); and
 2 possession of an unregistered firearm (count twelve, in violation of 26 U.S.C. §§
 3 5861(d) and 5871). The government cannot meet its burden.
 4         Of critical importance under the analysis in Bruen, there is no historical
 5 tradition prohibiting felons from possessing handguns. The earliest felon-in-
 6 possession law is from 1914. From 17th-century England until the
 7 Reconstruction, there is no historical analogue of disarming whole groups of the
 8 populace due to their status as a felon. To the contrary, early Americans used
 9 targeted regulations to prevent dangerous people from committing crimes with
10 guns, and even persons feared as dangerous could still keep firearms for self-
11 defense. In some instances, state courts and Congress recognized that permanent
12 disarmament—even of those who committed treason—was incompatible with
13 the traditional right to bear arms.
14         There is also no historical tradition prohibiting handgun possession in
15 furtherance of trafficking drugs. Penalties for having guns during illicit
16 commercial activities such as gambling, prostituting, or selling a banned
17 substance are modern inventions. Sentence enhancements for possessing
18 weapons during any crime are themselves products of a late-nineteenth-century
19 trend; the current penalty for possession of a firearm in furtherance of drug
20 sales, 18 U.S.C. §section 924(c), was not enacted until 1968
21         “[T]he enshrinement of constitutional rights necessarily takes certain
22 policy choices off the table.” District of Columbia v. Heller, 554 U.S. 570, 636
23 (2008). The “Second Amendment guarantee[s] to all Americans the right to bear
24 commonly used arms in public subject to certain reasonable, well-defined
25 restrictions,” Bruen, 142 S. Ct. at 2156, and the government cannot prove the
26 existence of historical, well-defined restrictions distinctly similar to the ones
27 charged here. This Court must therefore dismiss counts one through four,
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 1 charging felon in possession of a firearm; counts seven through ten, charging
 2 possession of a firearm in furtherance of a drug trafficking crime, count eleven,
 3 charging possession of a firearm with an obliterated serial number; and count
 4 twelve, charging possession of an unregistered firearm.
 5   I.     Statement of Facts
            As noted in Mr. Serrano’s previously filed motion to suppress evidence
 6
     illegally seized a the result of an illegal search of his home at 1760 Fernwood
 7
     Road in Chula Vista on March 15, 2021, a disabled .45 cal. handgun, several
 8
 9 rounds of ammunition, , a firearm magazine, an ammunition can, three rifles ,
10 and one 9mm handgun with fifteen rounds of ammunition were seized and form
11 the basis of the charges alleged in this case.
12        II.       THE CHAGES FILED VIOLATE THE SECOND AMENDMENT
13          The Second Amendment to the United States Constitution states that “the right
14 of the people to keep and bear Arms, shall not be infringed.” U.S. Const. amend. II. It
15 codified the pre-existing right to defend oneself from dangers inherent to living
16 among others. Bruen, 142 S. Ct. at 2128. Bruen compels the conclusion that
17 § 922(g)(1) and § 924(c)(1)(A) impermissibly infringe upon that right.
18          A.      Bruen adopted a new approach to the Second Amendment,
19                  overruling contrary Ninth Circuit precedent.
20                  1. Bruen overhauled the test for determining whether government
                       action infringes on the right to keep and bear arms.
21
            To determine whether government action infringes on the Second Amendment,
22
     the Ninth Circuit in the wake of District of Columbia v. Heller, 554 U.S. 570 (2008),
23
     had previously applied a two-step test. See United States v. Chovan, 735 F.3d 1127,
24
     1134–37 (9th Cir. 2013) (discussing cases). Under that test, the first question was
25
     “whether the challenged law imposes a burden on conduct falling within the scope of
26
     the Second Amendment's guarantee.” Id. (simplified). This was satisfied if the law
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 1 “burden[ed] conduct that was within the scope of the Second Amendment as
 2 historically understood.” Id.
 3         If it did, courts “move[d] to the second step of applying an appropriate form of

 4 means-end scrutiny.” Id. The level of scrutiny depended on “the nature of the
 5 conduct being regulated and the degree to which the challenged law burdens the
 6 right.” Id. at 1138 (quotations omitted). This could vary between intermediate and
 7 strict scrutiny. See id. at 1137 (citing Heller, 554 U.S. at 628 n.27). Courts always
 8 assigned some weight to the government’s interest in public safety and “keeping
 9 firearms away from those most likely to misuse them.” Id. at 1139 (simplified).
10         That was revisited by the Supreme Court in Bruen, which held that this second

11 step was “one step too many” because only constitutional text and history can justify
12 a firearms regulation. Bruen, 142 S. Ct. at 2127. Bruen analyzed whether a law
13 allowing gun license denials for lack of “proper cause” violated the Second
14 Amendment. Id. at 2123. Under the law’s “demanding” standard, officials had broad
15 discretion to withhold a license, absent “a special need for self-protection
16 distinguishable from that of the general community.” Id. (quotations omitted). Bruen
17 considered whether such “may issue” laws violate the Second Amendment.
18       Bruen began by affirming the first step: that courts examine “a variety of legal
19 and other sources to determine the public understanding of a legal text in the period
20 after its enactment or ratification.” Id. at 2127–28 (quotations omitted). This
21 methodology “center[s] on constitutional text and history.” Id. at 2128–29. Initially,
22 the court must determine whether the individual’s conduct falls within “the Second
23 Amendment’s plain text.” Id. at 2126. If it does, then the conduct is “presumptively”
24 constitutional and “the government must demonstrate that the regulation is consistent
25 with this Nation’s historical tradition of firearm regulation.” Id. at 2130, 2126. This
26 inquiry requires an examination of the nation’s “well-defined restrictions governing
27 the intent for which one could carry arms, the manner of carry, or the exceptional
28 circumstances under which one could not carry arms.” Id. at 2138.
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 1         Bruen, however, rejected the second step: District of Columbia v. Heller, 554

 2 U.S. 570 (2008), did not support “applying means-end scrutiny in the Second
 3 Amendment context.” Id. at 2127. Rather, “[t]he Second Amendment is the
 4 very product of an interest balancing by the people” and thus “demands our
 5 unqualified deference.” Id. at 2131 (simplified). Even if a firearm restriction could
 6 satisfy an “interest-balancing inquiry,” the Supreme Court explained, the “very
 7 enumeration of the right takes [it] out of the hands of government.” Id. at 2129
 8 (simplified).
 9       Having dismissed the second step, Bruen provided guidance on conducting the

10 first-step historical analysis. The Court considered “whether ‘historical precedent’
11 from before, during, and even after the founding evinces a comparable tradition of
12 regulation.” Id. But Bruen reminded that “not all history is created equal.” Id. at
13 2131–32. That is because “[c]onstitutional rights are enshrined with the scope they
14 were understood to have when the people adopted them.” Id. at 2136 (quotations
15 omitted). Because the Second Amendment was adopted in 1791, earlier historical
16 evidence “may not illuminate the scope of the right if linguistic or legal conventions
17 changed in the intervening years.” Id. Similarly, post-ratification laws that
18 “are inconsistent with the original meaning of the constitutional text obviously
19 cannot overcome or alter that text.” Id. at 2137 (emphasis added).
20         Bruen also offered analytical guidance for evaluating historical clues. In
21 particular, Bruen drew a distinction between two types of regulation. On the one
22 hand, “when a challenged regulation addresses a general societal problem that has
23 persisted since the 18th century,” the historical inquiry “will be relatively
24 straightforward.” Id. at 2131. Courts should begin by deciding whether “a distinctly
25 similar historical regulation address[ed] the problem.” Id. If earlier generations did
26 not regulate the problem, or if they regulated it “through materially different means,”
27 then the challenged regulation may violate the Second Amendment. Id. Likewise, if
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 1 earlier generations rejected comparable regulations as unconstitutional, “that
 2 rejection surely would provide some probative evidence of unconstitutionality.” Id.
 3         In contrast, if a regulation implicates “unprecedented societal concerns,”

 4 “dramatic technological changes,” or regulations “unimaginable at the founding,” the
 5 “historical inquiry . . . will often involve reasoning by analogy.” Id. at 2132. Courts
 6 may then ask whether historical regulations and the challenged regulation are
 7 “relevantly similar,” with special attention to “how and why the regulations burden a
 8 law-abiding citizen’s right to armed self-defense.” Id. at 2132–33.
 9       In either case, the burden falls squarely on the government to “affirmatively

10 prove that its firearms regulation is part of the historical tradition that delimits the
11 outer bounds of the right to keep and bear arms.” Id. at 2127. If the government
12 cannot do so, the infringement cannot survive.
13       Employing these tools, Bruen concluded that New York’s law fell under the

14 first category. It implicated a societal problem dating back to the founding: “handgun
15 violence, primarily in urban areas.” Id. at 2131 (simplified). Thus, there was no need
16 for analogical reasoning and the government bore the burden to show a “comparable
17 tradition of regulation” from the founding era. See id. The government, however, had
18 not “demonstrate[d] a tradition of broadly prohibiting the public carry of commonly
19 used firearms for self-defense.” Id. at 2138. At most, the government had shown
20 restrictions on some “dangerous and unusual weapons” and “bearing arms to
21 terrorize the people.” Id. at 2143. Thus, “no historical basis” contradicted “an
22 otherwise enduring American tradition permitting public carry.” Id. at 2145, 2154.
23         As Bruen summarized, the “standard for applying the Second Amendment”
24 now requires courts to do the following:
25            • If the Second Amendment’s “plain text” covers an individual’s conduct,
                courts must presume the Constitution “protects that conduct”;
26
              • To rebut this, the government must show that any restriction is
27
                “consistent with the Nation’s historical tradition of firearm regulation”;
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 1            • If the government cannot do so, the law is unconstitutional.

 2 Id. at 2129–30 (quotations omitted). Accordingly, Bruen requires courts to revisit any
 3 Second Amendment decision not consistent with this methodology.
 4                  2. Bruen abrogated prior case law that relied on “presumptively
                       lawful” exceptions.
 5
 6         “[W]here intervening Supreme Court authority is clearly irreconcilable” with

 7 prior Ninth Circuit authority, “district courts should consider themselves bound by
 8 the intervening higher authority and reject the prior opinion of this court as having
 9 been effectively overruled.” Miller v. Gammie, 335 F.3d 889, 900 (9th Cir. 2003) (en
10 banc). To determine whether a prior opinion was overruled, courts look not only to
11 “‘the holdings of higher courts’ decisions’” but also their “‘mode of analysis.’” Id.
12 (quoting Antonin Scalia, The Rule of Law as a Law of Rules, 56 U. Chi. L.Rev. 1175,
13 1177 (1989)). Such holdings “need not be identical in order to be controlling” as long
14 as they “undercut the theory or reasoning underlying the prior circuit precedent in
15 such a way that the cases are clearly irreconcilable.” Id. To the extent prior decisions
16 employ a different and “clearly irreconcilable” “mode of analysis,” this Court is
17 “bound by” Bruen rather than those decisions. Id.
18         Bruen is clearly irreconcilable with prior precedent that applied a “means-end
19 scrutiny.” See Chovan, 735 F.3d at 1134–37. Bruen is also irreconcilable with prior
20 precedent holding that Heller’s list of “presumptively lawful” firearms restrictions
21 automatically controls, absent a full historical analysis. See United States v. Vongxay,
22 594 F.3d 1111, 1115 (9th Cir. 2010) (relying on Heller’s “presumptively lawful”
23 language to deny a Second Amendment challenge to § 922(g)(1)); United States v.
24 Potter, 630 F.3d 1260, 1261 (9th Cir. 2011) (same, for § 924(c)(1)(A)).
25         In Heller, the Supreme Court confirmed an individual’s right to keep and bear
26 arms but cautioned that this right is “not unlimited.” 554 U.S. at 626. As an example,
27 the Court provided a non-exhaustive list of “presumptively lawful regulatory
28 measures”—i.e., ones that had not yet undergone a full historical analysis. Id. at 627
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 1 n.26 (emphasis added). This list included laws restricting possession by felons and
 2 the mentally ill and the carrying of firearms in “sensitive places.” Id. at 626. But it
 3 also included “prohibitions on carrying concealed weapons,” which “the majority of
 4 the 19th-century courts” had held were “lawful under the Second Amendment or
 5 state analogues.” Id. Elsewhere, Heller confirmed this historical regulation of
 6 concealed-carry laws, pointing to multiple state Supreme Court decisions holding
 7 that the “constitutional guarantee of the right to ‘bear’ arms did not prohibit the
 8 banning of concealed weapons.” Id. at 613, 629.
 9         The Court Heller emphasized, however, that “we do not undertake an

10 exhaustive historical analysis today of the full scope of the Second Amendment.” Id.
11 Because that earlier decision was the Court’s “first in-depth examination of the
12 Second Amendment,” Heller explained that it could not “clarify the entire field.” Id.
13 at 635. Heller promised that there would be “time enough to expound upon the
14 historical justifications for the exceptions we have mentioned if and when those
15 exceptions come before us.” Id.
16         That time was fourteen years later, when Bruen undertook an “exhaustive
17 historical analysis” of a state licensing regime regulating both open and concealed
18 carrying of firearms. Specifically, New York outlawed open carry and required a
19 showing of “proper cause” before a person could receive a license to “‘have and
20 carry concealed’ a pistol or revolver.” Bruen, 142 S. Ct. at 2123 (quoting N.Y. Penal
21 Law § 400.00(2)(f)). While acknowledging Heller’s preliminary analysis of
22 concealed-carry laws, Bruen then conducted a full historical review and reached a
23 more nuanced understanding of the history surrounding such laws. See id. at 2146–
24 47. With this new understanding, it held that New York could not, in fact, issue a
25 blanket prohibition on concealed carry or even limit it to those with special self-
26 defense needs. Id. at 2156.
27         Importantly, Bruen did not “overrule” Heller’s “holding” that concealed-carry
28 laws were presumptively lawful. It merely did what Heller promised: conducted an
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 1 “exhaustive historical analysis” on one of the “exceptions” that had now “come
 2 before it.” Heller, 554 U.S. at 635. Bruen shows that Heller’s preliminary list of
 3 exceptions do not bind future courts or prevent them from conducting a full historical
 4 review that may point to a different conclusion. So as with the New York statute, the
 5 application of Bruen’s revamped test—rather than Heller’s preliminary take—
            1
 6 controls.
 7         This mode of analysis abrogates prior Ninth Circuit case law finding felon-in-

 8 possession and possession in furtherance of drug sales laws constitutional.
 9       In United States v. Vongxay, 594 F.3d 1111, 1115 (9th Cir. 2009), the Ninth

10 Circuit rejected a Second Amendment challenge to § 922(g)(1) by relying on Heller’s
11 “presumptively lawful” language. Vongxay then relied on a line of cases that had
12 upheld felon-in-possession laws under the means-end scrutiny of the second step. Id.
13 at 1116–18. Because Bruen abolished this second step and showed that Heller’s list
14 of “presumptively lawful” exceptions are not binding, Vongxay is no longer good
15 law.
16         Similarly, in United States v.Potter, 630 F.3d 1260 (9th Cir. 2011), the Ninth
17 Circuit rejected a Second Amendment challenge to § 924(c)(1)(A)’s prohibition on
18 possessing firearms in furtherance of drug trafficking, relying on Heller’s
19 “presumptively lawful” and “lawful” language. As a result, Potter never, as required
20 by Bruen, looked to the Second Amendment’s plain text or historical tradition. 142 S.
21 Ct. at 2129–30. Nor did it properly shift the burden to the government to prove
22
23
24
25
           1
            Bruen also contains references to “law-abiding” individuals. Id. at 2122,
   2125, 2131, 2133, 2134, 2138, 2150, 2156. But like the concealed-carry and felon-in-
26 possession restrictions, Bruen’s test requires the government to prove that the plain
27 text of the Second Amendment refers only to “law-abiding” people and a historical
   tradition exists of denying firearms to non-“law-abiding” people. Id. at 2129–30. For
28 the reasons explained here, the government cannot prove either.
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 1 relevant historical traditions. Id. For the same reasons that Vongxay is abrogated, so
 2 too is Potter.
 3         B.    The Second Amendment’s plain text covers Mr. Serrano’s
                 conduct.
 4
            Mr. Serrano’s conduct is “presumptively protect[ed],” Bruen, 142 S. Ct. at
 5
     2130, because it falls within the Second Amendment’s plain text: “the right of the
 6
     people to keep and bear Arms, shall not be infringed.” U.S. Const. amend. II.
 7
           Mr. Serrano is one “of ‘the people’ whom the Second Amendment protects.”
 8
     Bruen, 142 S. Ct. at 2134 (quoting Heller, 554 U.S. at 580). “[T]he people” protected
 9
     by the Second Amendment “unambiguously refers to all members of the political
10
     community, not an unspecified subset.” Heller, 554 U.S. at 580. Because “felons” are
11
     not “categorically excluded from our national community,” they fall within the
12
     amendment’s scope. Kanter, 919 F.3d at 453 (Barrett, J., dissenting); accord Folajtar
13
     v. Att’y Gen. of the U.S., 980 F.3d 897, 912 (3d Cir. 2020) (Bibas, J., dissenting).
14
           Comparison to other constitutional amendments confirms this view. As Heller
15
     explained, “the people” is a “term of art employed in select parts of the Constitution,”
16
     including “the Fourth Amendment, . . . the First and Second Amendments, and . . .
17
     the Ninth and Tenth Amendments.” Id. (quoting United States v. Verdugo-Urquidez,
18
     494 U.S. 259, 265 (1990)). It is beyond challenge that felons are among “the people”
19
     whose “persons, houses, papers, and effects” enjoy Fourth Amendment protection.
20
     Const. amend. IV; see, e.g., United States v. Lara, 815 F.3d 605 (9th Cir. 2016). And
21
     felons likewise enjoy “the right of the people” to “petition the government for redress
22
     of grievances.” Const. amend. I; see, e.g., Entler v. Gregoire, 872 F.3d 1031, 1039
23
     (9th Cir. 2017). If a felon is one of “the people” protected by these Amendments,
24
     Heller teaches that he is one of “the people” under the Second Amendment, too.
25
           Additionally, the Second Amendment’s plain text presumptively protects Mr.
26
     Serrano’s alleged “course of conduct.” Bruen, 142 S. Ct. at 2134. The Second
27
     Amendment’s text protects the right “to keep and bear Arms,” Const. amend. II—
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 1 which means the right “to possess and carry weapons in case of confrontation.’”
 2 Bruen, 142 S. Ct. at 2135 (quoting Heller, 554 U.S. at 592). Specifically, the right to
 3 “bear” arms includes the right to “wear, bear, or carry upon the person or in the
 4 clothing or in a pocket, for the purpose of being armed and ready for offensive or
 5 defensive action in a case of conflict with another person.” Heller, 554 U.S. at 584
 6 (simplified). The right to “keep” arms simply “refer[s] to possessing arms, for
 7 militiamen and everyone else.” Id. at 583, 629–30 (simplified).
 8        Because counts one thought four, seven through ten, eleven, and twelve rest

 9 solely upon the possession of a gun, by a prohibited person, a person in a drug
10 trafficking crime, or the possession of a certain type of gun, the Second
11 Amendment’s plain text covers the allegations here. Mr. Serrano’s possession of
                                                      2


12 these firearms is “presumptively guarantee[d]”—unless the government meets its
13 burden to prove that 18 U.S.C.§§922(g)(1), 922(k), 924(c)(1)(A), and 26 U.S.C. §§
14 5861(d) and 5871 are each “consistent with this Nation’s historical tradition of
15 firearm regulation.” Bruen, 142 S. Ct. at 2134.
16         C.       The government cannot show “an American tradition” that
                    individuals convicted of a felony may not possess a gun.
17
           The government cannot meet its burden to establish the requisite historical
18
     tradition as to § 922(g)(1). As in Bruen, the “general societal problem” that
19
     § 922(g)(1) is designed to address—i.e., felons with access to guns—is one “that has
20
     persisted since the 18th century.” Id. at 2131. Thus, § 922(g)(1) is unconstitutional
21
     unless the government shows a robust tradition of “distinctly similar historical
22
     regulation.” Id. The government cannot meet its burden to establish § 922(g)(1)’s
23
     historical pedigree for a simple reason: neither the federal government nor a single
24
25
26
27   This case does not implicate § 924(c)(1)(A)’s alternative elements, like “use[]
     2

   . . . [of] a firearm.” Whether the Second Amendment’s protections on “keep[ing]
28 and bear[ing] arms” extend to using arms is not at issue here. Const. amend. II.
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                                                                        3
 1 state barred all people convicted of felonies until the 20th century. See, e.g., Adam
 2 Winkler, Heller’s Catch-22, 56 UCLA L. Rev. 1551, 1563 (2009). The modern
 3 version of § 922(g)(1) was adopted 177 years after the Second Amendment—far too
 4 recently to alter its meaning. Bruen, 142 S. Ct. at 2154 n.28 (“[L]ate-19th-century
 5 evidence” and any “20th-century evidence . . . does not provide insight into the
 6 meaning of the Second Amendment when it contradicts earlier evidence.”).
 7         The government may argue that, historically, some jurisdictions sometimes

 8 regulated firearm use by those considered presently violent. That is not, however, a
 9 “distinctly similar historical regulation,” Bruen, 142 S. Ct. at 2131, for at least three
10 reasons: (1) not all people with a felony conviction are presently violent. (2) the
11 historical regulations required an individualized assessment of a person’s threat to
12 society, and (3) the historical regulations almost always allowed people deemed
13 violent to still possess weapons for self-defense. Even those convicted of serious
14 crimes, even rebellion, were entitled to protect themselves, by possessing firearms if
15 necessary. Those targeted laws are a far cry from declaring that any person,
16 convicted of any felony, can never possess “the most popular weapon chosen by
17 Americans for self-defense in the home.” Heller, 554 U.S. at 629.
                                                                     4


18                  1. Forever depriving all felons of their right to bear arms does not
                       comport with English history.
19
           England, prior to Independence, did not ban felons from ever again possessing
20
     a firearm. See Kanter, 919 F.3d at 457 (Barrett, J., dissenting); C. Kevin Marshall,
21
22
     3
23     The first state law to bar the possession of some firearms by felons was enacted
     in 1914. Catie Carberry, Felons and Persons with a Mental Impairment, Second
24   Thoughts: A Blog from the Center for Firearms Law at Duke University (June
25   27, 2019), https://sites.law.duke.edu/secondthoughts/2019/06/27/miniseries-part-
     iii-felons-and-persons-with-a-mental-impairment/.
26   4
       If such restrictions create ambiguity, ambiguity is insufficient for the
27   government to meet its burden. Bruen, 142 S. Ct. at 2139, 2141 n.11. A single
     state’s statute or a “pair of state-court decisions” cannot outweigh “the
28   overwhelming weight of other evidence.” Id. at 2153.
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 1 Why Can’t Martha Stewart Have A Gun?, 32 Harv. J.L. & Pub. Policy 695, 717
 2 (2009); Joseph G.S. Greenlee, The Historical Justification for Prohibiting Dangerous
 3 Persons from Possessing Arms, 20 Wyo. L. Rev. 249, 260 (2020). To the extent that
 4 England sought to disarm various individuals, those regulations usually required a
 5 more culpable mental state and made exceptions for self-defense, both features
 6 absent from § 922(g)(1). They also did not prohibit possession of guns without serial
 7 numbers or those that had not been registered. In other words, they are not “distinctly
 8 similar” to modern felon-in-possession laws. See Bruen, 142 S. Ct. at 2131
 9         For example, it was a crime under the common law to “go[] armed to terrify

10 the King’s subjects.” Bruen, 142 S. Ct. at 2141 (quoting Sir John Knight’s Case, 3
11 Mod. 117, 87 Eng. Rep. 75, 76 (K. B. 1686)). But that offense did not make every
12 person the townspeople found scary a criminal. The common law required that “the
13 crime shall appear to be malo animo, [that is,] with evil intent or malice.” Id.
14 (quoting Rex v. Sir John Knight, 1 Comb. 38, 38–39, 90 Eng. Rep. 330 (K. B. 1686)).
15 In other words, the bearer had to have “the intent to cause terror in others.” Id. at
16 2183 (Breyer, J., dissenting) (describing majority’s view). That is a much more
17 culpable mental state than § 922(g)(1)’s “knowingly.” See 18 U.S.C. § 924(a)(8).
18         Second, when England tried to minimize prospective use of firearms by those
19 considered dangerous, it was through sureties, not mass disarmament. Marshall,
20 supra, at 717. A justice of the peace could demand that someone for “whom there is
21 probable ground to suspect of future misbehaviour, to stipulate with and to give full
22 assurance to the public, that such offence as is apprehended shall not happen; by
23 finding pledges and securities for keeping the peace, or for their good behaviour.” Id.
24 (quoting 5 William Blackstone, Commentaries *386-87 (St. George Tucker ed.,
25 1803) (1767)); see also William Rawle, A View of the Constitution of the United
26 States of America 126 (2d ed. 1829) (citing 1 W. Hawkins, Pleas of the Crown 60
27 (1716); 3 Sir Edward Coke, Institutes of the Laws of England 160 (1644)). But unlike
28 § 922(g)(1), surety laws still presumed that a person could have arms. See Kanter,
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 1 919 F.3d at 457 (Barrett, J., dissenting); Marshall, supra, at 716–23; Greenlee, supra,
 2 at 260. In other words, the regulation targeted a different class (the violent, not the
 3 felonious) and used a different enforcement mechanism (sureties not imprisonment).
 4 To the extent England sought to disarm whole classes of subjects, it did so on
 5 noxious grounds, yet still permitted those targeted to keep arms for self-defense. For
 6 example, in the age of William and Mary (both Protestants), Catholics were
 7 presumed loyal to James II (the prior Catholic king trying to retake the throne) and
 8 treasonous. Catholics could only keep “Arms, Weapons, Gunpowder, [and]
 9 Ammunition,” if they declared allegiance to the crown and renounced key parts of
10 their faith. See Bruen, 142 S. Ct. at 2142 n.12. In other words, even when England
11 presumed that Catholics were engaged in mass treason, they still had “a right to own
12 arms for personal defense.” Joyce Lee Malcolm, To Keep and Bear Arms: The
13 Origins of an Anglo-American Right 123 (1994). In short, the English never tried to
                     5
14 disarm all felons. Instead, they sought to limit the use of firearms by those
15
16
           5
17            Some felons could no longer bear arms because (1) they were executed
     and (2) they forfeited personal property upon a felony conviction. Marshall,
18   supra, at 714. Neither practice suggests that the Framers understood the pre-
19   existing Arms right to exclude all felons. See also infra 20 (discussing early
     American punishment of felons). As to execution, England, in fact, let many
20   felons live. Between 1718 and 1769, a scant 15.5% of felons convicted in
21   London’s chief criminal court received the death penalty. Javier Bleichmar,
     Deportation As Punishment: A Historical Analysis of the British Practice of
22   Banishment and Its Impact on Modern Constitutional Law, 14 Geo. Immigr. L.J.
23   115, 126 (1999) (citing A. Roger Ekirch, Bound For America: The
     Transportation Of British Convicts To The Colonies 1718-1775, at 21 (1987)).
24   Execution was even less common in the early United States. Infra 20. As to
25   forfeiture, “it did not follow that one could not thereafter purchase and hold new
     personal property—including a gun.” Marshall, supra, at 714. More importantly,
26   the Framers tended to “condemn forfeiture of property, a[t] least in cases of
27   felony, as being an unnecessary and hard punishment of the felon’s posterity.” 2
     James Kent, Commentaries on American Law 386 (O.W. Holmes, Jr., ed., 12th
28   ed., Little, Brown, & Co. 1873) (1826).
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 1 individuals found to be violent and rebellious, yet even those individuals could keep
 2 arms for self-defense. That is not a “distinctly similar historical regulation.” Bruen,
 3 142 S. Ct. at 2131.
 4               2. Forever depriving all felons of their right to bear arms does not
                    comport with colonial and Founding-era history.
 5
          “[T]here is little evidence of an early American practice of,” Bruen, 142 S. Ct.
 6
   at 2142, forever barring all people convicted of a felony from ever again possessing a
 7
   firearm. That is not surprising; the new Nation had a more permissive approach to
 8
   firearm regulation than England. See, e.g., Rawle, supra, at 126. The early United
 9
   States accepted that those who committed serious crimes retained a right to defend
10
   themselves. That can be seen in the colonies’ and states’ statutes, early American
11
   practice, and state constitutional conventions.
12
                    (a) Founding-era statutes and regulations did not bar
13                          felons from possessing firearms.
14
          First, no Founding-era statutes or interpretations of the common law barred all
15
   felons from possessing firearms. Kanter, 919 F.3d at 454 (Barrett, J., dissenting);
16
   Folajtar, 980 F.3d at 915 (Bibas, J., dissenting); United States v. Chester, 628 F.3d
17
   673, 679 (4th Cir. 2010); Binderup v. Att’y Gen. of the U.S., 836 F.3d 336, 368 (3d
18
   Cir. 2016) (en banc) (Hardiman, J., concurring).
19
          To the extent that the new Nation sought to disarm classes of people, the
20
   regulatory approach was a far cry from § 922(g)(1). For example, the Virginia
21
   colony, like England, disarmed Catholics, still viewed as traitors to the crown, who
22
   would not “swear an oath abjuring the ecclesiastical authority of the Pope.” Robert
23
   H. Churchill, Gun Regulation, the Police Power, and the Right to Keep Arms in Early
24
   America: The Legal Context of the Second Amendment, 25 Law & Hist. Rev. 139,
25
   157 (2007) (citation omitted). But there was an exception for weapons allowed by a
26
   justice of the peace “for the defense of his house and person.” Id. And following the
27
   Declaration of Independence, Pennsylvania ordered that those who did not pledge
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 1 allegiance to the Commonwealth and renounce British authority be disarmed. Id. at
 2 159. Thus, to the extent that either regulation would comply with the First
 3 Amendment, as understood today, they required a specific finding that a specific
 4 person posed a risk of violence to the state.
 5         Colonial and Founding-era practice also suggests that committing a serious

 6 crime did not result in a permanent disarmament. For example, leaders of the seminal
 7 Massachusetts Bay colony once disarmed supporters of a banished seditionist.
 8 Greenlee, supra, at 263 (citations omitted). Nevertheless, “[s]ome supporters who
 9 confessed their sins were welcomed back into the community and able to retain their
10 arms.” Id. And in 1787, after the participants in Shay’s Rebellion attacked
11 courthouses, a federal arsenal, and the Massachusetts militia, they were barred from
12 bearing arms, for three years. Id. at 268–67. In fact, Massachusetts law required the
13 Commonwealth to hold and then return the rebels’ arms after that period. Sec’y of
14 the Commonwealth, Acts and Resolves of Massachusetts 1786–87, at 178 (1893). In
15 other words, one of the first states punished people involved in armed rebellion, one
16 of the most serious violent crimes, with merely a three-year firearm ban and promise
17 to return the weapons used to attack the new government.
18                   (b)   Proposals from state constitutional conventions are
                           weak evidence, but still were narrower than § 922(g).
19
20         If one seeks even debatable “authority before World War I for disabling felons

21 from keeping firearms, . . . one is reduced to three proposals emerging from the
22 ratification of the Constitution.” Kanter, 919 F.3d at 454 (Barrett, J. dissenting)
23 (quoting Marshall, supra, at 712). These proposals, if relevant at all, do not
24 demonstrate a historical tradition of regulation akin to § 922(g). See, e.g., Kanter,
25 919 F.3d at 454 (Barrett, J. dissenting); United States v. Skoien, 614 F.3d 638, 648
26 (7th Cir. 2010) (en banc) (Sykes, J., dissenting); Marshall, supra, at 713; Greenlee,
27 supra, at 267; Carlton F.W. Larson, Four Exceptions in Search of a Theory: District
28 of Columbia v. Heller and Judicial Ipse Dixit, 60 Hastings L.J. 1371, 1375 (2009).
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 1         As the states’ conventions debated ratification, several proposed that the

 2 Nation’s charter guarantee the right to bear Arms. Id.; Greenlee, supra, at 265–66;
 3 1 Jonathan Elliott, The Debates in the Several State Conventions of the Federal
 4 Constitution 328, 335 (2d ed. 1836). Three such proposals included an arguable
 5 limitation on that right. First, New Hampshire’s convention proposed that citizens not
 6 be disarmed “unless such as are or have been in actual rebellion.” 1 Elliot, supra, at
 7 326. Second, Samuel Adams argued at Massachusetts’ convention that “the people of
 8 the United States, who are peaceable citizens,” should not be deprived of their arms.
 9 Kanter, 919 F.3d at 454–55 (Barrett, J., dissenting) (quoting 2 Bernard Schwartz, The
10 Bill of Rights: A Documentary History 675, 681 (1971)). Finally, a minority of
11 Pennsylvania delegates—all Antifederalists who opposed ratification —suggested
                                                                       6


12 that persons should not be disarmed “unless for crimes committed, or real danger of
13 public injury from individuals.” Id. at 455 (quoting Schwartz, supra, at 662, 665).
14 “[O]nly New Hampshire’s proposal—the least restrictive of the three—even carried a
15 majority of its convention.” Id.
16         As an initial matter, the proposals are an exceptionally weak form of evidence.
17 None made it into the final text. And as Heller warns, “[i]t is always perilous to
18 derive the meaning of an adopted provision from another provision deleted in the
19 drafting process.” Heller, 554 U.S. at 590; see also Chevron U.S.A. Inc. v.
20 Echazabal, 536 U.S. 73, 81 (2002) (explaining expressio unius est exclusio alterius).
21 Furthermore, Heller specifically admonished that “the drafting history of the Second
22 Amendment—the various proposals in the state conventions and the debates in
23 Congress”—is a “dubious” source for Second Amendment interpretation. Heller, 554
24 U.S. at 604. That is because the Second Amendment was “widely understood to
25
26
27  As Heller noted, it is “highly problematic” to assume that the “the best or most
     6

   representative reading of” the Second Amendment “would conform to the
28 understanding and concerns of the Antifederalists.” Id. at 590 n.12.
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 1 codify a pre-existing right, rather than to fashion a new one.” Id. If these proposals
 2 really codified previous practice, the government should be able to point to
                                                                                     7
 3 Founding-era laws imposing similar firearms restrictions. Yet no such laws exist.
 4      There is another issue with relying on these proposals: They differ

 5 significantly from one another and from other proposals arising from state
 6 conventions. The conventions in Rhode Island and New York proposed an
 7 unqualified version of the Second Amendment right, “[t]hat the people have a right to
 8 keep and bear arms[.]” 1 Elliott, supra, at 328, 335. Thus, while three proto-Second-
 9 Amendment proposals expressly limited who had the right to bear arms, two did not.
10 Nor did the four state constitutions—including those of Pennsylvania and
11 Massachusetts—that adopted a parallel right to arms before the Second Amendment
12 contain any textual limitation on that right. See Eugene Volokh, State Constitutional
13 Rights to Keep and Bear Arms, 11 Tex. Rev. L. & Pol. 191, 208 (2006). Relying on
14 this drafting history would therefore suggest that “different people of the founding
15 period had vastly different conceptions of the right to keep and bear arms. That
16 simply does not comport with our longstanding view that the Bill of Rights codified
17 venerable, widely understood liberties.” Heller, 554 U.S. at 604–05.
18       Yet even if one assumes that the proposed limitations shed light on the actual
19 Second Amendment, it does not legitimize § 922(g)(1). The former proposed some
20 restrictions on arms for those who engaged in rebellion or violence. The latter bars
21 firearm possession for anyone convicted of a crime punishable by more than a year.
22
23   7
     Indeed, these proposals contradict early American practice. For example, New
24 Hampshire’s “actual rebellion” limitation, Kanter, 919 F.3d at 455 (Barrett, J.,
25 dissenting), contradicts Massachusetts promise to store and return the firearms of the
   instigators of Shay’s Rebellion after three years. Nor can Samuel Adams and the
26 Pennsylvania minority’s proposal to limit arms to the peaceable be squared with early
27 American surety laws that permitted the people “reasonably likely to ‘breach the
   peace’” to still carry guns if they could (1) “prove a special need for self-defense” or
28 (2) “post a bond before publicly carrying a firearm.” Bruen, 142 S. Ct. at 2148.
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 1 These are not close to analogous. See Marshall, supra, at 713 (concluding that “these
 2 three formulations do not support a lifetime ban on any ‘felon’ possessing any
 3 arms”); Greenlee, supra, at 267 (same); Larson, supra, at 1375 (same); Kanter, 919
 4 F.3d at 455 (Barrett, J., dissenting) (same); Folajtar, 980 F.3d at 915 (3d Cir. 2020)
 5 (Bibas, J., dissenting) (same); Skoien, 614 F.3d at 648 (Sykes, J., dissenting) (same)..
 6                   (c) Arguments about execution of felons and “virtuous
                            citizens” do not support § 922(g)’s constitutionality.
 7
          The government may argue that two oft-cited American practices, (1)
 8
   execution of felons and (2) a desire for a virtuous citizenry, show that § 922(g)(1) is
 9
   nothing new. But as two prominent jurists recently concluded, those arguments lack
10
   historical and legal support. Kanter, 919 F.3d at 453–64 (Barrett, J., dissenting);
11
   Folajtar, 980 F.3d at 912, 916–21 (Bibas, J., dissenting).
12
          On the first basis, stripping a felons of all rights, including that of life, is
13
   irrelevant to the understanding of a constitutional right. Those who have been
14
   executed are dead, and therefore cannot possess yet alone use firearms. No limitation
15
   of the right of a living person to possess a gun existed.
16
          As for virtue, there is no primary source evidence linking the right to possess a
17
   firearm to the extraordinarily vague term of “virtuousness.” Historians have cited one
18
   another to support the “virtue” theory, but they have not identified any supporting
19
   Founding-era materials beyond the three proposals from state conventions discussed
20
   above. Kanter, 919 F.3d at 463 (Barrett, J., dissenting); Folajtar, 980 F.3d at 916
21
   (Bibas, J., dissenting) (comparing the authorities supporting a virtuousness limitation
22
   to a “matryoshka doll”). To the extent that history suggests that the Framers stripped
23
   the unvirtuous of certain rights—it was civic rights (such as jury service or voting),
24
   not individual rights (such as the freedom of speech). Kanter, 919 F.3d at 462–63
25
   (Barrett, J., dissenting); Folajtar, 980 F.3d at 916 (Bibas, J., dissenting). In fact,
26
   conditioning the Second Amendment’s protections on virtuousness is inconsistent
27
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 1 with Heller. E.g., Kanter, 919 F.3d at 463 (Barrett, J., dissenting). As several Third
 2 Circuit judges noted:
 3         [T]his virtuous-citizens-only conception of the right to keep and
           bear arms is closely associated with pre-Heller interpretations of the
 4         Second Amendment by [scholars] . . . who rejected the view that the
 5         Amendment confers an individual right and instead characterized
           the right as a “civic right . . . exercised by citizens, not
 6         individuals . . . who act together in a collective manner, for a
 7         distinctly public purpose: participation in a well regulated militia.”

 8 Binderup, 836 F.3d at 371 (Hardiman, J., concurring).
 9       In sum, “[t]he Founding generation had no laws limiting gun possession by . . .
10 people convicted of crimes.” Winkler, supra, at 1563 n.67. That the Framers were
11 aware of such proposals and chose a different path is powerful evidence that such
12 limits on firearm possession are not baked into the Second Amendment.
13               3. Forever depriving all felons of their right to bear arms does not
14                  comport with 19th-century history.

15         American practice and laws during the nineteenth century—before and after

16 the Civil War—also confirms that § 922(g)(1) does not comport with the “Nation’s
17 historical tradition of firearm regulation.” Bruen, 142 S. Ct. at 2135. The United
18 States continued to regulate—but not ban—firearm possession by those feared to be
19 violent. See Bruen, 142 U.S. at 2148 (holding that 19th century surety laws allowed
20 people likely to breach the peace to still keep guns for self-defense or if they posted a
21 bond). But, as discussed above, that is not similar to § 922(g)(1). There is no
22 evidence of a precursor to § 922(g)(1)’s broad, class-based ban. In fact, there are at
23 least two documented instances where attempts to disarm a class of offenders were
24 rejected as inconsistent with the right to bear arms.
25        First, as with Shay’s Rebellion, Congress declined to disarm southerners who
26 fought against the Union in the Civil War. Whether the Second Amendment Secures
27 an Individual Right, 28 Op. O.L.C. 126, 226 (2004). The reason: some northern and
28 Republican senators feared that doing so “would violate the Second Amendment.” Id.
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 1         Second, when a Texas law disarmed people convicted of unlawfully using a

 2 pistol, it was held unconstitutional. Jennings v. State, 5 Tex. Ct. App. 298, 298
 3 (1878). The state’s highest court in criminal cases at the time held:
 4         The Legislature has the power by law to regulate the wearing of arms, with a
           view to prevent crime, but it has not the power to enact a law the violation of
 5         which will work a forfeiture of defendant’s arms. While it has the power to
 6         regulate the wearing of arms, it has not the power by legislation to take a
           citizen’s arms away from him. One of his most sacred rights is that of having
 7         arms for his own defence and that of the State.
 8 Id. at 300–01 (emphases added).
 9
           Although Jennings interpreted Texas’s constitution, not the Second
10
   Amendment, its analysis is indicative of how firmly states believed that everyone had
11
   a fundamental, preexisting right to own firearms for self-defense—even those who
12
   had misused firearms in the past. Jennings’ setting is notable. As Bruen held, 1870s
13
   Texas imposed and upheld unusually strict firearms regulations. 142 S. Ct. at 2153.
14
   In sum, 19th century history provides clear evidence that mass disarmament for
15
   people convicted of an offense is unconstitutional. Not only was there a
16
   consistent practice of allowing people who broke the law to keep weapons for
17
   self-defense—at least one state appellate court and Congress also agreed that
18
   disarming lawbreakers was unconstitutional. As Bruen teaches: “[I]f some
19
   jurisdictions actually attempted to enact analogous regulations during this
20
   timeframe, but those proposals were rejected on constitutional grounds, that
21
   rejection surely would provide some probative evidence of unconstitutionality.”
22
   142 S. Ct. at 2131. Because laws disarming anyone convicted of a felony did not
23
   appear until the 1900s, they are not relevant here. 142 S. Ct. at 2154 n.28.
24
25         D.   The Government cannot show an “American tradition” of
                banning categories of firearms based upon serial numbers and
26              registration
27         Counts eleven and twelve charge a violation of possessing an unregistered
28 firearm and one with an obliterated serial number. At the time of the adoption of the
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 1 Second Amendment, few if any guns were registered or marked for identification. A
 2 regulatory ban of possession firearms without a serial number or one that has not
 3 been registered, especially when the firearm was possessed in Mr. Serrano’s home as
 4 part of his right to defend his dwelling, would not survive the Second Amendment.
 5         E.       The government cannot show “an American tradition” of
 6                  criminalizing gun possession during illicit commercial activity.
 7         The government also cannot meet its burden to establish a historical tradition
 8 similar to § 924(c)(1)(A)’s prohibition on possessing firearms in furtherance of drug
 9 sales. As in Bruen, the “general societal problem” that this part of § 924(c)(1)(A)
10 addresses is not new. Id. at 2131. Arms possession in furtherance of and identified
11 illegal commercial activity, such as smuggling, gambling, or selling banned
12 substances like alcohol or drugs, “has persisted since the 18th century.” Id.
13         Despite that, there is little evidence of an early American practice” of
14 criminalizing weapon possession in furtherance of drug sales, or any other “distinctly
15 similar” illegal commercial activity. See Bruen, 142 S. Ct. at 2142 (articulating
16 standard). Instead, English law prior to independence, founding-era law, and early
17 and mid-nineteenth century legislatures “addressed the societal problem . . . through
18 materially different means.” Id. at 2131. Increased penalties for possession of
19 firearms in furtherance of crimes were “not widely found” in the United States until
20 the twentieth century. Robert J. Spitzer, Gun Law History in the United States and
21 Second Amendment Rights, 80 L. & Contemp. Problems 55, 80 (2017).
22         The offense charged here is modern. Section 924(c) was enacted in 1968, and
23 first prohibited using or carrying firearms for drug trafficking in 1970. United States
24 v. Melville, 309 F. Supp. 774, 776 (S.D.N.Y. 1970); see also Gonzales v. Raich, 545
25 U.S. 1, 10–15 (2005). It first encompassed possession offenses in 1998. See United
26 States v. O’Brien, 560 U.S. 218, 232–33 (2010). As with felon in possession laws,
27 this is far too late to alter the Second Amendment’s meaning.
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 1         There is also little to indicate that English common law and the Founding

 2 era criminalized weapon possession in furtherance of activities like drug sales.
 3 See, e.g., Malcolm, To Keep and Bear Arms at 1–134; Saul Cornell & Nathan
 4 DeDino, A Well Regulated Right: The Early American Origins of Gun Control,
 5 73 Fordham L. Rev. 487, 502–17 (2004) (each comprehensively reviewing gun
 6 regulations, and none mentioning such regulations or prohibitions). In a “vast
 7 newly compiled dataset of historical gun laws” in pre-Civil-War America, an
 8 academic found only one state and two territories that had any sentence
 9 enhancement for use of a gun during any crime, violent or nonviolent. Spitzer,
10 Gun Law History at 56, 60. Added penalties for use of guns may feel like an “old
11 idea,” but it was “not one widely found during the period under study,” i.e.,
12 between the 1600s and the very early 1900s. Id. at 80.
13      Instead, in England and Founding-era America, lawmakers regulated

14 commercial outlaws’ arms possession in two fundamentally different ways.
15 English common law criminalized the public carry and use of common weapons
16 by focusing not on the underlying crime but on intent to cause fear or violence
17 specifically. The common law criminalized publicly carrying firearms only when
18 someone intended to carry the weapon for terror or violence. Indeed, as
19 explained above, see supra section C.1 and C.2, English common law
20 historically prohibited only carrying a weapon with intent to “terrify the King’s
21 subjects.” Bruen, 142 S. Ct. at 2141–42; see, e.g., Malcolm, To Keep and Bear
22 Arms at 105 (discussing the Statute of Northampton).
23         Colonial America and the Founding era did nothing more than “codif[y]
24 th[is] existing common-law offense of bearing arms to terrorize the people.”
25 Bruen, 2143. Then, in the early and mid-nineteenth century, the few American
26 entities that criminalized possessing a dangerous weapon while committing
27 another crime did so only for crimes widely considered violent, similar to the
28 inherently violent felonies underlying the doctrine of felony murder. See Spitzer,
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 1 Gun Law History at 80 ns. 172–75 (identifying enhancements for possessing a
 2 dangerous weapon during a robbery or burglary in Connecticut, territorial Ohio,
 3 and territorial Washington).
 4       Second, England and Founding-era America addressed the social problem

 5 of weapons use during illegal activity by wholesale criminalizing types of
 6 weapons thought to be commonly used by dangerous people. Heller, 554 U.S. at
 7 627; Caetano v. Massachusetts, 577 U.S. 411, 412 (2016) (per curiam). For
 8 example, in response to “acute disorder” from “bands of malefactors . . .
 9 committing assaults and murders” across England, the Statute of Northampton
10 prohibited public carry of particular weapons and armor. Bruen at 2139–40.
11 Those specific arms, “launcegays” and other lances, were “carried only when one
12 intended to engage in lawful combat or . . . breach the peace,” so banning them
13 from public carry entirely was acceptable. Id. at 2140. By contrast, daggers were
14 used for self-defense by “almost everyone”—and so were not prohibited. Id.
15         Similarly, in the early and mid-nineteenth century, state legislatures did

16 not criminalize possessing any weapon while engaging in commercial crimes
17 (like illegally selling alcohol, running a gambling house, or engaging in
18 prostitution). People engaging in those crimes, like felons, still had the right to
19 possess common weapons for self-defense. See section C.1 and C.2, supra.
20         Instead, a few states and territories criminalized possession of certain types
21 weapons thought to be used for “fighting,” or those “favored by ‘assassins’ and
22 ‘ruffians.’” David B. Kopel et al., Knives and the Second Amendment, 47 U.
23 Mich. J. of L. Reform 167, 180, 186 (2013) (quoting Aymette v. State, 21 Tenn.
24 (2 Hum.) 154 (1840)). For example, Bowie knives and “Arkansas toothpicks”
25 were two prominently outlawed arms at that time. Id. Other similar outlawed
26 arms included “dirks, daggers, slungshots, sword-canes, [and] brass-knuckles.”
27 Id. at 188; see also Cornell & DeDino, A Well Regulated Right at 517 (noting
28 that some states prohibited “the sale of particular classes of weapons” around this
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 1 period). Heller recognized this historical tradition of banning certain weapons
 2 associated with outlaws, i.e., “weapons not typically possessed by law-abiding
 3 citizens for lawful purposes, such as short-barreled shotguns.” 554 U.S. at 625.
 4        In sum, concerned about potential criminals with guns, both England and

 5 early America carefully navigated around their citizens’ gun rights. In so doing,
 6 they criminalized both the carrying of weapons to terrify others and the
 7 possession of weapons that weren’t commonly used for self-defense. But neither
 8 adopted anything “distinctly similar” to § 942(c)(1)(A)’s prohibition on gun
 9 possession in furtherance of a drug crime. Bruen, 142 S. Ct. at 2131.
10
     IV.   Conclusion
11
           Mr. Serrano is charged with possessing a firearm as a felon, possession of
12
     a firearm in furtherance of drug trafficking, possession of a firearm with an
13
     obliterated serial number, and possession of an unregistered firearm. Because the
14
     government cannot “meet [its] burden to identify an American tradition” that
15
     prohibited people with felonies or engaging in illicit commercial activity from
16
     possessing firearms, or prohibited possession of an unregistered firearm or one
17
     with an obliterated serial number, these offenses are unconstitutional. Bruen, 142
18
     S. Ct. at 2138. At a minimum, the government must present evidence of a
19
     historical tradition that would have prohibited a person in Mr.Serrano’s
20
     circumstances from possessing a firearm in his home. If it cannot, the Court must
21
     dismiss counts 1-4, 7-10, and 11-12.
22
      Dated: October 18, 2022
23                                          Respectfully submitted,

24                                          John Lanahan
                                            Attorney for Jose Serrano
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27
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